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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 EMILIO PINERO,
      Plaintiff,
 vs.

 E & W DEVELOPMENT, LLP and
 QUE BARATO STORES, INC.
 d/b/a NOOO QUE BARATO,
        Defendants.


                                          COMPLAINT

        Plaintiff, EMILIO PINERO (hereinafter “Plaintiff”), by his undersigned counsel, hereby

 files this Complaint and sues Defendants, E & W DEVELOPMENT, LLP and QUE BARATO

 STORES, INC. d/b/a NOOO QUE BARATO (hereinafter “Defendants”), for injunctive relief

 pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter the

 “A.D.A”), the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”),

 and the Florida Building Code.

                                         JURISDICTION

        1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendants’

 violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

                                            PARTIES

        2.      Plaintiff, EMILIO PINERO, is a resident of Florida and currently lives in Miami,

 Florida and is sui juris. He is a qualified individual with disabilities under the ADA law. Mr.

 Pinero is a double leg amputee from the knees down. Mr. Pinero owns his own vehicle and does

 drive. He has visited the property, which forms the basis of this lawsuit and plan to return to the

 property to avail himself of the goods and services offered to the public at the property, and to

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 determine whether the property has been made ADA compliant. His access to the Facility and/or

 full and equal enjoyment of the goods, services, facilities, privileges, advantages, and/or

 accommodations offered therein was denied and/or limited because of these disabilities and will

 be denied and/or barriers to access and ADA violations which exist at the Facility, including but

 not limited, to those set forth in the Complaint.

        3.      Independent of his personal desire to have access to this place of public

 accommodation free of illegal barriers to access Plaintiff is an advocate of the rights of similarly

 situated disabled persons and is a "tester" for the purpose of asserting his civil rights and

 monitoring, ensuring, and determining whether places of public accommodation are in

 compliance with the ADA. Independent of other subsequent visits, Plaintiff also intends to visit

 the Premises regularly to verify its compliance or non-compliance with the ADA, and its

 maintenance of the accessible features of the Premises. In this instance, Plaintiff, in Plaintiff's

 individual capacity and as a "tester", visited the Premises, encountered barriers to access at the

 Premises, engaged and tested those barriers, suffered legal harm and legal injury and will

 continue to suffer such harm and injury as a result of the illegal barriers to access and the

 violations of the ADA set forth herein. It is Plaintiff's belief that said violations will not be

 corrected without Court intervention, and thus Plaintiff will suffer legal harm and injury in the

 near future.

        4.      Defendant, E & W DEVELOPMENT, LLP transacts business in the State of

 Florida and within this judicial district. Defendant is the owner and/or representative of the

 owner and/or operator of the property, which is the subject of this action, located on or about

 1198 W. 23rd St., Hialeah, FL 33010 (hereinafter the “Facility”).




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         5.      Defendant, QUE BARATO STORES, INC. transacts business in the State of

 Florida and within this judicial district. Defendant is the owner and/or operator of the store

 known as NOOO QUE BARATO, which is the subject of this action, located on or about 1198

 W. 23rd St., Hialeah, FL 33010 (hereinafter “Facility”)

         6.      The Facility is in an area frequently traveled by Plaintiff.

         7.      The Defendants’ Facility is a public accommodation and service establishment,

 and although required by law to do so, it is not in compliance with the ADA and ADAAG.

         8.      In this instance, Mr. Pinero visited the Facility and encountered barriers to access

 at the Facility, and engaged barriers, suffered legal harm and injury, and will continue to suffer

 legal harm and injury as a result of the illegal barriers to access, and Defendants’ ADA violations

 set forth herein.

         9.      Plaintiff has suffered and continues to suffer direct and indirect injury as a result

 of the ADA violations that exist at the Facility and the actions or inactions described herein.

         10.     All events giving rise to this lawsuit occurred in the State of Florida. Venue is

 proper in this Court as the premises are located in the Southern District.

                            FACTUAL ALLEGATIONS AND CLAIM

         11.     Mr. Pinero has attempted to and has, to the extent possible, accessed the Facility,

 but could not do so because of his disabilities due to the physical barriers to access, dangerous

 conditions and ADA violations that exist at the Facility that restrict and/or limit his access to the

 Facility and/or the goods, services, facilities, privileges, advantages and/or accommodations

 offered therein, including those barriers, conditions and ADA violations more specifically set

 forth in this Complaint.




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         12.     Mr. Pinero intends to visit the Facility again in the near future in order to utilize

 all of the goods, services, facilities, privileges, advantages, and/or accommodations commonly

 offered at the Facility, but will be unable to do so because of his disability due to the physical

 barriers to access, dangerous conditions and ADA violations that exist at the Facility that restrict

 and/or limit his access to the Facility and/or accommodations offered therein, including those

 barriers conditions and ADA violations more specifically set forth in this Complaint.

         13.     Defendants have discriminated against Plaintiff and others with disabilities by

 denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

 advantages and/or accommodations of the Facility, as prohibited by 42 U.S.C., § 12182, et. seq.,

 and by failing to remove architectural barriers as required by 42 U.S.C., § 12182(b)(2)(A)(iv),

 and will continue to discriminate against Plaintiff and others with disabilities unless and until

 Defendants are compelled to remove all physical barriers that exist at the Facility, including

 those specifically set forth herein, and make the Facility accessible to and usable by persons with

 disabilities, including Plaintiff.

         14.     Defendants have discriminated against Mr. Pinero by failing to comply with the

 above requirements. A specific, although not exclusive, list of unlawful physical barriers,

 dangerous conditions and ADA violations which preclude and/or limit Plaintiff’s ability (because

 of his disability) to access the Facility and/or full and equal enjoyment of the goods, services,

 facilities, privileges, advantages and/or accommodations of the Facility include:

                 Accessible Parking Space (South Entrance)

                 a. Accessible parking space has a non-compliant surface slope contrary to 2010
                    ADA Code § 502.4,

                 b. Accessible parking space does not have an access aisle contrary to 2010 ADA
                    Code §502.3,



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             c. Accessible parking space has non-compliant signage indicating accessible
                parking contrary to FAC§502.6,

             Accessible Route from Accessible Parking Space (South Entrance)

             d. Ramp has a non-compliant surface slope contrary to 2010 ADA Code §405.2,

             e. Ramp with a change in direction has a non-compliant landing contrary to 2010
                ADA Code §405.7.4,

             Public Restroom

             f. Permanent room identifying signage does not have Braille or raised characters
                and is mounted on the door leaf contrary to 2010 ADA Code §703.4.1,

             g. Non-compliant knob-type hardware, requiring grasping and turning of the
                wrist to operate contrary to 2010 ADA Code §404.2.7,

             h. Doorway opening has a clear width of 24” contrary to 2010 ADA Code
                §404.2.3,

             i. Water closet does not have a rear wall grab bar contrary to 2010 ADA Code
                §604.5.2,

             j. Trash bin encroaches over the water closet clearance failing to maintain the
                clear floor space free of obstructions contrary to 2010 ADA Code §604.3.2,

             k. Water closet does not have a side wall grab bar contrary to 2010 ADA Code
                §604.5.1,

             l. Lavatory does not provide the required knee clearance contrary to 2010 ADA
                Code §606.2.2,

             m. Lavatory encroaches over maneuvering clearance on the pull side of the door
                contrary to 2010 ADA Code §404.2.4,

             n. Lavatory counter encroaches over the required clear floor space contrary to
                2010 ADA Code §304.3,

             Accessible Parking Space (North Entrance)

             o. Accessible parking space has a non-compliant surface slope contrary to 2010
                ADA Code §502.4,

             p. Accessible parking space does not have an access aisle contrary to 2010 ADA
                Code §502.3,




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                q. Accessible parking space has non-compliant signage indicating accessible
                   parking contrary to FAC§502.6,

                Accessible Rout from Accessible Parking Space (North Entrance)

                r. Ramp has a non-compliant surface slope contrary to 2010 ADA Code §405.2,
                   and

                s. Ramp with a change in direction has a non-compliant landing.

        15.     The above listing is not to be considered all-inclusive of the barriers, conditions or

 violations encountered by Plaintiff and/or which exist at the Facility. Plaintiff requires an

 inspection of the Facility in order to determine all of the discriminatory acts violating the ADA.

        16.     Mr. Pinero has attempted to gain access to the Facility, but because of his

 disability has been denied access to, and has been denied the benefits of services, programs, and

 activities of the Facility, and has otherwise been discriminated against and damaged by

 Defendants, because of the physical barriers, dangerous conditions and ADA violations set forth

 above, and expects to be discriminated against in the future, unless and until Defendants are

 compelled to remove the unlawful barriers and conditions and comply with the ADA.

        17.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

 Defendants modify the Premises or modifies the policies and practices to accommodate

 individuals who have physical disabilities to confirm said modifications have been completed in

 accordance with the requirements of the ADA

        18.     The removal of the physical barriers, dangerous conditions and ADA violations

 set forth herein is readily achievable and can be accomplished and carried out without much

 difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

 36.304.

        19.     Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

 reasonably anticipates that he will continue to suffer irreparable harm unless and until

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 Defendants are required to remove the physical barriers, dangerous conditions and ADA

 violations that exist at the Facility, including those set forth herein.

         20.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

 prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

 and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

         21.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

 injunctive relief to Plaintiff, including an order to alter the subject Facility to make it readily

 accessible to and useable by individuals with disabilities to the extent required by the ADA, and

 closing the subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

 injunction enjoining Defendants from continuing is discriminatory practices, ordering

 Defendants to remove the physical barriers to access and alter the subject Facility to make it

 readily accessible to and useable by individuals with disabilities to the extent required by the

 ADA, closing the subject Facility until the barriers are removed and requisite alterations are

 completed, and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation

 expenses incurred in this action.

                                                     Respectfully submitted,

                                                     s/ Glenn R. Goldstein
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